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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

IN RE: E. I. DU PONT DE
NEMOURS AND COMPANY C-8
PERSONAL INJURY LITIGATION,
Civil Action 2:13-md-2433
JUDGE EDMUND A. SARGUS, JR.
Chief Magistrate Judge Elizabeth P. Deavers

This document relates to: ALL CASES

DISPOSITIVE MOTIONS ORDER NO. 34

Plaintiffs’ Motion for Application of Issue Preclusion/Collateral Estoppel

This matter is before the Court on Plaintiffs’ Renewed! Motion for Partial Summary
Judgment on the Application of the Doctrine of Issue Preclusion/Collateral Estoppel (“Plaintiffs’
Renewed Motion”) (In re: EI. du Pont de Nemours and Company C-8 Personal Injury
Litigation, 2:13-md-2433, MDL ECF No. 5274), Defendant DuPont de Nemours and Company’s
(“Defendant” or “DuPont”) Memorandum in Opposition to Plaintiffs’ Renewed Motion (MDL
ECF No. 5278), Plaintiffs’ Reply Brief in Support of their Renewed Motion (MDL ECF No.
5280), Defendant’s Motion to File Sur-Reply Jnstanter (MDL ECF No. 5281), Defendant’s Sur-
Reply (MDL ECF No. 5281-1), Plaintiffs’ Opposition to Defendant’s Motion to File Sur-Reply

Instanter (MDL ECF No. 5282), and Defendant’s Reply Brief in Support of its Motion to File

 

' On January 27, 2017, a similar motion was filed on behalf of the Group 1 Plaintiffs in this
MDL. (Pls.’ Mot. For Summ. J. on Pls.’ Negligence Claims Pursuant to the Doctrine of Issue
Preclusion/Collateral Estoppel, MDL ECF No. 5056.) DuPont did not file a reply to Plaintiffs’
motion because a global resolution was reached before DuPont’s reply was due. (Feb. 13, 2017
Order, MDL ECF No. 5086) (vacating all then current scheduling orders). Plaintiffs filed a
second collateral estoppel motion on April 19, 2019 (MDL ECF No. 5202), and Defendant filed
its response on May 19, 2019 (MDL ECF No. 5208). Plaintiffs withdrew their motion on May
23, 2019, after Pretrial Order No. 51 was issued. (MDL ECF No. 5220.)
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Sur-Reply /nstanter (MDL ECF No. 5283). For the reasons set forth below, the Court GRANTS
both motions. (MDL ECF Nos. 5274, 5281.)
I.

The facts underlying the cases in this multidistrict litigation (“MDL”) were first brought
before the judiciary over 20 years ago in a West Virginia state court case. The cases involve
individual plaintiffs who are all part of a class certified 18 years ago that consisted of
approximately 80,000 residents of Ohio and West Virginia who drank water contaminated by
releases from DuPont’s Washington Works facility. All the cases purport to be subject to a
settlement agreement executed 15 years ago (“Leach Settlement Agreement”) between the class
and DuPont. The record in this Court spans six and one-half years, requiring two years of
supplementary court staffing, docket entries exceeding 5,200 filings, including more than 450
decisions from the Court, four month-long jury trials with three trials going to verdicts all in
favor of the plaintiffs—with nearly $9 million in liability damage awards on negligence claims
and $11 million in punitive damage awards. DuPont appealed the verdicts in the first trial to the
United States Court of Appeals for the Sixth Circuit, the appeal received full briefing,
assignment of a judicial panel, and oral argument before the panel. DuPont withdrew the appeal
before decision. On the same day the appeal was withdrawn, the fourth trial was ended in its
third week without a verdict from the jury. DuPont filed notice with the Security and Exchange
Commission (“SEC”) of a $670.7 million global settlement of the 3500-plus then-pending cases,
all of which were dismissed. Since that time, 50-plus post-settlement cases have been filed in
this Court, with over 70 motions currently pending, and the first trial scheduled to commence in

less than two months, on January 21, 2020.
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In their Renewed Motion, Plaintiffs move for the application of collateral estoppel/issue
preclusion on duty, breach, general causation, interpretation of the Leach Settlement Agreement,
and the inapplicability of the Ohio Tort Reform Act to the cases currently pending before the
Court in this MDL. Generally, the doctrine of issue preclusion bars successive litigation of an
issue of fact or law actually litigated and resolved in a valid court determination essential to a
prior judgment. Parklane Hosiery Co. v. Shore, 439 U.S. 322, 326 (1979); Goodson v.
McDonough Power Equip., Inc., 2 Ohio St. 3d 193, 195 (1983). “By ‘preclud[ing] parties from
contesting matters that they have had a full and fair opportunity to litigate,” collateral estoppel
protects against “the expense and vexation attending multiple lawsuits, conserv[es] judicial
resources, and foste[rs] reliance on judicial action by minimizing the possibility of inconsistent
decisions.” Taylor v. Sturgell, 553 U.S. 880, 892 (2008) (alterations in original) (quoting
Montana v. United States, 440 U.S. 147, 153-54 (1979)).

The Court herein provides an overview of only the aspects of this case necessary to reach
the issues presently before it.

A. West Virginia Lawsuits

In 1998, in a case styled Tennant v. EI. du Pont de Nemours & Co., Inc., No. 6:99-0488
(S.D. W.Va.), discovery brought to light the fact that the drinking water supplies around
DuPont’s Washington Works facility in Parkersburg, West Virginia were contaminated with a
synthetic perfluorinated carboxylic acid and fluorosurfactant also known as perfluorooctoanoic
acid or ammonium perfluorooctanoate (“PFOA” or “C-8”). (Pls’ Mot. for Partial Summ. J.,
Bilott Aff. Ex. B, MDL ECF No. 820-4.) C-8 is in “a family of human-made chemicals that do
not occur naturally in the environment.” (Public Health Statement at 3, Dept. of Health and

Human Serv., Public Health Service Agency for Toxic Substances and Disease Registry,
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https://www.atsdr.cdc. gov/toxprofiles/tp200-cl-b.pdf.) C-8 “stays in the body for many years.

It takes approximately 4 years for the level in the body to go down by half, even if no more is
taken in.” Jd. Testimony before this Court, from experts presented by Plaintiffs and DuPont,
indicates that the stability of C-8 prevents the breakdown not only in the human body, but also in
the environment, resulting in half-life residuals of the chemical in a human body for decades of
years. (See, ¢.g., Bartlett Tr. Transcript at 22, Carla Marie Bartlett v. E. L du Pont de Nemours
and Company, Case No. 2:13-cv-170, Bartlett ECF No. 127.)

Eighteen years ago, a group of individuals who had ingested the contaminated water in
Ohio and West Virginia filed a class action in West Virginia state court: Leach v. E. I. Du Pont
de Nemours & Co., No. 01-C-608 (W. Va. Cir. Ct. Wood County Aug. 31, 2001) (“Leach
Case”). The Leach Case plaintiffs alleged that DuPont was liable under a variety of West
Virginia common law tort theories for equitable, injunctive, and declaratory relief, along with
compensatory and punitive damages, as a result of contaminating with C-8 the drinking water
supplies of the communities surrounding Washington Works. DuPont did not, and still does not,
dispute that from its Washington Works facility DuPont discharged C-8 into the water, air, and
unlined landfills around the facility or that the landfills seeped C-8 into the soil, the Ohio river
carried the C-8 down-river, and the air currents carried the ash that fell to the ground, all of
which contributed to the contamination of the drinking water reservoirs.

After three years of litigating the Leach Case, including widespread discovery, extensive
motion practice, and three appeals taken to the West Virginia Supreme Court of Appeals, the
parties executed the Leach Settlement Agreement to effectuate a class-wide settlement of the

Leach Case. (Leach Settlement Agreement (“S.A.”), MDL ECF No. 820-8.)
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In the Leach Settlement Agreement, the parties fashioned a unique procedure to
determine whether the approximately 80,000 members of the Leach Class would be permitted to
file actions against DuPont based on any of the human diseases they believed had been caused by
their exposure to C-8 discharged from DuPont’s Washington Works plant. The procedure
required DuPont and the Leach Class to jointly select three completely independent, mutually-
agreeable, and appropriately credentialed epidemiologists (“Science Panel”) to study human
disease among the Leach Class. The Leach Class consisted of those individuals who for at least
one year, had “consumed drinking water containing .05 ppb or greater of C-8 attributable to
releases from Washington Works.” (S.A. § 2.1.1.)

Until the Science Panel reached its conclusions, the Leach Class members were not
permitted to file any personal injury claims relating to C-8 exposure. For over seven years, the
Science Panel conducted a massive epidemiological study costing over $24 million to determine
whether any of the diseases suffered by members of the Leach Class were linked to their
ingestion of C-8.

In 2012, the Science Panel delivered Probable Link F indings for six human diseases
(“Linked Diseases”): kidney cancer, testicular cancer, thyroid disease, ulcerative colitis,
diagnosed high cholesterol (hypercholesterolemia), and pregnancy-induced hypertension and
preeclampsia. The Probable Link Finding means that for each Leach Class member it is more
likely than not that there is a link between his or her exposure to C-8 (i.e., drinking water
containing at least .05 ppb of C-8 for at least one year) and his or her Linked Disease.

In addition to the seven-year reprieve from defending any litigation related to its
discharge of C-8 into the drinking water of approximately 80,000 people, DuPont received the

benefit of No Probable Link Findings for 50 diseases also studied by the Science Panel. Once a
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No Probable Link Finding issued, DuPont was “forever discharge{d] from any and all claims,
losses, damages, attorneys’ fees, costs, and expenses, whether asserted or not, accrued or not,
known or unknown, for personal injury and wrongful death ....” (S.A. § 3.3) (emphasis added).
In other words, under the terms of the Leach Settlement Agreement all of the Leach Class
members who received a No Probable Link Finding were prohibited from filing a personal injury
action against DuPont, regardless of whether any other study or expert disagreed with the
Science Panel or later scientific studies were at odds with the Science Panel’s No Probable Link
Findings.

Under the Leach Settlement Agreement, the Leach Class and DuPont agreed that the
members of the Leach Class who suffered from a Linked Disease were entitled to have the
Probable Link Finding applied to them. That means that it is more likely than not that there is a
link between the class members’ exposure to C-8 and their Linked Disease, (i.e., the Probable
Link Finding), and DuPont agreed not to contest whether C-8 is capable of causing the Linked
Disease in that particular class member (general causation). DuPont retained the right to contest
whether C-8 actually caused the Linked Disease in that particular class member (specific
causation),

B. DuPont’s Request for an MDL

In September 2012, a few months after issuance of the Probable Link Findings, the first
case filed by a member of the Leach Class pursuant to the Leach Settlement Agreement was
brought in this Court. At the same time, members of the Leach Class were filing cases in the
federal district courts in West Virginia and Ohio as well as in state courts in West Virginia and

Ohio.
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On January 11, 2013, DuPont moved the Judicial Panel on Multidistrict Litigation
(JPML”), pursuant to 28 U.S.C. § 1407, for pretrial consolidation of the Leach Class cases,
asserting that forming the MDL would “promote the just and efficient conduct of the actions,”
and because “consolidation in a single District will likely promote early and efficient resolution
of all the cases.” (Def’s Mem. in Support of Mot. for Coordination and Consolidation at 7,
JPML ECF No. 1-1.) DuPont argued in favor of consolidation, highlighting:

The complaints each involve the same core factual allegations regarding DuPont's
conduct, and also raise the same theories of legal liability.

Transferring the pending and subsequent tag-along cases to one court pursuant to
28 U.S.C. § 1407 will eliminate duplicative discovery, including expert discovery,
avoid repetitive and duplicative motion practice and inconsistent rulings on a
number of pre-trial issues involving discovery and substantive matters, and
conserve the resources of the courts and the parties.

dd. at 1 (emphasis added). DuPont continued, stating:

Transferring the cases to one District for coordinated and consolidated
pretrial proceedings will promote the convenience and conserve the resources of
the courts, witnesses and the parties. Many witnesses in these cases will be current
or former DuPont employees. Absent a transfer, these employees will be subjected
to multiple depositions in multiple jurisdictions.

Also, DuPont would be subjected to multiple document requests and other
written discovery. Having to undergo such discovery multiple times would be
unduly burdensome to the witnesses, the parties, and their counsel. Thus, a transfer
will minimize the heavy burden that these cases proceeding separately will
otherwise place on the witnesses, the patties, the attorneys, and the courts.
Id. at 6.

Finally, DuPont addressed settlement of the cases, specifically asserting that it sought
consolidation so that “[t]he transferee court will be able to explore various alternatives to resolve
the case in an expeditious manner.” Jd.

On April 4, 2013, the JPML granted DuPont’s request for centralization and chose this

Court to preside over the MDL. In its Transfer Order (MDL ECF No. 1), the JPML indicated
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that the cases that make up this MDL, In Re: E. I Du Pont De Nemours And Company C-8
Personal Injury Litigation, are a subset of cases that originated in the Leach Case. It held:

On the basis of the papers filed and the hearing session held, we find that
these actions involve common questions of fact, and that centralization under
Section 1407 in the Southern District of Ohio will serve the convenience of the
parties and witnesses and promote the just and efficient conduct of this litigation.
Ail the actions are personal injury or wrongful death actions arising out of
plaintiffs’ alleged ingestion of drinking water contaminated with a chemical, C-8
{also known as perfluorooctoanoic acid (PFOA) or ammonium perfluorooctanoate
(APFO)), discharged from DuPont’s Washington Works Plant near Parkersburg,
West Virginia. All of the plaintiffs in this litigation allege that they suffer or
suffered from one or more of six diseases identified as potentially linked to C-8
exposure by a study conducted as part of a 2005 settlement between DuPont and a
class of approximately 80,000 persons residing in six water districts allegedly
contaminated by C-8 from the Washington Works Plant. See Leach v. EL Du Pont
de Nemours & Co., No. 01-C-608 (W. Va. Cir. Ct.). Centralization will eliminate
duplicative discovery; prevent inconsistent pretrial rulings; and conserve the
resources of the parties, their counsel and the judiciary.

id. at 1.
C. MDL

Through direct filing, removals, and Conditional Transfer Orders from the JPML,
this Court ultimately had over 3,500 cases before it as part of this MDL. Beginning in the
first month this MDL was centralized, the Court held monthly Case Management
Conferences. The Court managed pretrial discovery and motion practice, issuing hundreds of
Dispositive Motions Orders (“DMOs”), Case Management Orders (“CMOs”), Pretrial Orders
(“PTO’s), Discovery Orders, Evidentiary Orders, and written and oral Orders on Motions in
Limine, many of which are specified individually in PTO 51. (PTO No. 51 at 6-15, MDL ECF
No. 5214.)

1. DMO 1 and DMO 1-A: Collateral Estoppel and Contract Interpretation

The initial issues brought by the parties to this Court for disposition were issues that

impacted all of the plaintiffs that were a part of this MDL. Specifically, Plaintiffs filed a Motion
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for Partial Summary Judgment (MDL ECF No. 820), asking this Court to apply the doctrine of
collateral estoppel to certain issues established in the Leach Settlement Agreement. (MDL ECF
No. 820-1.) DuPont filed a Counter Motion for Partial Summary Judgment Regarding
Application of the Leach Settlement Agreement. (MDL ECF No. 1032.) In that motion, DuPont
stated:
DuPont respectfully requests that this Court enter an Order finding as a
matter of law that there are no material issues of fact as to the application of the

Leach Settlement Agreement to the individual personal injury and wrongful death

actions consolidated in this MDL, and that DuPont’s statements of the issues

regarding: (1) the definition of “Class Member;” (2) the scope of “General

Causation;” and (3) proof of dose required to establish specific causation are

accurate.

(Def’s Mot. for Summa, J. at 1, MDL ECF No. 1032.)

In reply, Plaintiffs focused on the points of agreement between them and DuPont. (See
Pls.’ Reply at 4-10, MDL ECF No. 1152.) Specifically, that both agreed that the unambiguous
language of the Leach Settlement Agreement was binding upon all parties to this MDL. Jd.
And, the Leach Settlement Agreement dictated the issues of class membership, the scope of
general and specific causation, and the application of the Probable Link and No Probable Link
Findings as those terms are defined in the Agreement. Jd.

In deciding these cross-motions for summary judgment, the Court issued its first order on
dispositive motions directing it to “ALL CASES,” titling it: “DMO 1, Class Membership and
Causation.” (MDL ECF No. 1679.) In DMO 1, the Court denied DuPont’s Counter Motion for
Partial Summary Judgment Regarding Application of the Leach Settlement Agreement and
granted in part Plaintiffs’ Motion for Partial Summary Judgment.

With regard to class membership, the Court held:

As to class membership, both sides agree, and this Court finds, that as part
of the individual plaintiffs’ cases, they must show that they are a class member and
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that they have one or more of the Linked Diseases. To prove class membership, a

plaintiff must show that he or she, “for the period of at least one year,” has

“consumed drinking water containing .05 ppb or greater of C-8 attributable to

releases from [DuPont’s ] Washington Works” plant from any of the “six specified

Public Water Districts” or any of the Covered Private Sources named in the Leach

Settlement Agreement. (S.A. § 2.1.1.)

(DMO 1, Class Membership and Causation at 7, MDL ECF No. 1679.)

As to causation, the Court reviewed both parties’ interpretations of the Leach Settlement
Agreement and analyses of its application to evidence of general and specific causation and
concluded: “For several reasons, DuPont's analysis is not tenable under the Leach Settlement
Agreement.” Id. at 9, The Court then provided a detailed interpretation of the Leach Settlement
Agreement, including the Probable Link Findings and the No Probable Link F indings, general
and specific causation, and application of these terms to the members of the defined Leach Class.

Thereafter, DuPont filed a document titled: “DuPont’s Overview Brief on Causation
Issues,” which reargued its positions related to interpretation of the Leach Settlement Agreement.
(MDL ECF No. 2813.) On the same day, DuPont filed a Motion to Clarify DMO 1, which
“incorporate[ed] by reference its separate Overview Brief on Causation Issues.” (MDL ECF No.
2814.)

After full briefing, the Court issued DMO 1-A, which granted DuPont’s Motion “to the
extent it requested the Court to clarify DMO 1” and denied the Motion “in all other regards,”
(DMO 1-A, DuPont’s Motion for Clarification of DMO 1, Class Membership and Causation at
11, MDL ECF No. 3972) (“Nothing DuPont brings before the Court in its Motion for
Clarification or Overview of Causation calls into question any of the Court’s analysis in DMO 1.

However, the Court will provide further explanation of this important issue here and address the

arguments DuPont highlights in its current briefing.”). The Court then endeavored to articulate

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in more detail the terms of the Leach Settlement Agreement and explain again why DuPont’s
suggested interpretation was incorrect.

2. Ohio Tort Reform Act

Under the Ohio Tort Reform Act of 2004, effective April 7, 2005, the Ohio Revised Code
was amended to, inter alia, cap the amount of noneconomic damages recoverable in tort actions
and cap the amount of punitive damages. Ohio Rev. Code §§ 2315.1-21. This Court has
considered whether this Act applies several times during the pendency of this MDL, and has
consistently determined that the Tort Reform Act does not apply. (DMO 10, Order on
Application of Ohio Tort Reform Act, MDL ECF No. 4215); (DMO 12, Order on Defendant’s
Motion for Judgment as a Matter of Law or, Alternatively, for a New Trial and Remittitur, MDL
ECF No. 4306); (DMO 18, Order on DuPont’s Motion for an Order to Apply Ohio Tort Reform
Act, MDL ECF No. 4597); (DMO 23, Order on DuPont’s Motion for an Order to Apply Ohio
Tort Reform Act, MDL ECF No. 493 1); (DMO 29, Order on DuPont’s Motion for an Order to
Apply Ohio Tort Reform Act, MDL ECF No. 5007).

3. Trials

Within the first few months of this MDL, the Court and the parties focused upon the
selection of cases to be utilized as bellwether trials. The Manual for Complex Litigation, a
litigation manual produced by federal judges for use by other judges, states that bellwether trials
are meant to “produce a sufficient number of representative verdicts and settlements to enable
the parties and the court to determine the nature and strength of the claims . . . and what range of
values the cases may have.” The Manual for Complex Litigation, § 22.315.

By February 2014, the parties selected six representative cases to be utilized as the

bellwether trials. (CMO 6, Identification & Selection of Discovery Pool Plaintiffs, MDL ECF

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No. 194); (CMO 7, Selection of the Initial Trial Cases and Expert Disclosures Schedule, MDL
ECF No. 602). The Court ultimately accepted the six cases to serve as bellwether trials — three
Plaintiffs’ Steering Committee (“PSC”) choices and three chosen by DuPont. (CMO 2, § VI,
ECF No. 30; PTO 19, May 6, 2014 Conf. Order at 2, MDL ECF No. 265); (CMO 7, Selection of
the Initial Trial Cases and Expert Disclosure Schedule, MDL ECF No. 602); (CMO 9, Pretrial
Schedule for Initial Two Trial Cases, MDL ECF No. 3549); (CMO 10, Pretrial Schedule for
Bartlett Trial, MDL ECF No. 4183); (CMO 11, 12, Pretrial Schedules for Wolf Trial, MDL ECF
Nos. 4247, 4250); (CMO 13, Pretrial Schedule for Freeman Trial, MDL ECF No. 4263); (CMO
14, Pretrial Schedule for Dowdy Trial, MDL ECF No. 4268); (CMO 15, Pretrial Schedule for
Baker Trial; MDL ECF No. 4269).

The first bellwether case was selected by DuPont and involved the claims of Carla Marie
Bartlett, who had suffered from the Linked Disease kidney cancer: Carla Marie Bartlett v. E. L
du Pont de Nemours and Company, Case No. 2:13-cv-170. Mrs. Bartlett’s trial began on
September 14, 2015, and lasted approximately one month. The jury found in favor of Mrs,
Bartlett on her negligence claim, meaning that they unanimously concluded that she proved bya
preponderance of the evidence each of the following: “(1) DuPont owed Mrs. Bartlett a duty of
care; (2) DuPont breached its duty of care to Mrs. Bartlett; and (3) Mrs. Bartlett suffered an
injury as a proximate result of DuPont’s breach of the duty of care.” (Final Jury Instructions at
20, Negligence — Generally, Ordinary Care, Bartlett ECF No. 139.)? The Court instructed the

jury as follows:

 

* The parties do not dispute that it matters not whether Ohio or West Virginia law applies to an
individual Plaintiff's claim because, as this Court has recognized, “[w]ith regard to the issue of
duty, the law in Ohio and West Virginia is nearly identical.” (DMO 6 at 6, MDL ECF No.
4184.)

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NEGLIGENCE - DUTY

To prove the existence of a duty, Mrs. Bartlett must show by a
preponderance of the evidence that a reasonably prudent person would have
foreseen that injury was likely to result to someone in Mrs. Bartlett’s position from
DuPont’s conduct. In deciding whether reasonable prudence was used, you will
consider whether DuPont should have foreseen, under the circumstances, that the
likely result of an act or failure to act would cause injuries. The test for
foreseeability is not whether DuPont should have foreseen the injuries exactly as it
happened to Mrs. Bartlett. The test is whether under the circumstances a reasonably
prudent corporation would have anticipated that an act or failure to act would likely
cause injuries.

Id. at 21.
NEGLIGENCE — BREACH
If you find that DuPont owed Mrs. Bartlett a duty, you must next determine
whether DuPont breached that duty. A corporation breaches a duty by failing to use
ordinary care. As I have just instructed, ordinary care is the care that a reasonably
careful corporation would use under the same or similar circumstances.
If you decide that DuPont did not use ordinary care, then DuPont breached its

duty of care to Mrs. Bartlett. If you decide that DuPont did use ordinary care, then
DuPont did not breach its duty of care to Mrs. Bartlett.

fd. at 22.

NEGLIGENCE ~ PROXIMATE CAUSE

Mrs. Bartlett must prove not only that DuPont was negligent, but also that
such negligence was a proximate cause of her injuries. Proximate cause is an act
or failure to act that was a substantial factor in bringing about an injury and without
which the injury would not have occurred.

Id. at 23.
NEGLIGENCE — PROXIMATE CAUSE — FORSEEABLE INJURY
I will now discuss how to determine whether Mrs. Bartlett’s injury was the
natural and probable consequence of DuPont’s conduct. To prove proximate cause,

Mrs. Bartlett must show that her injuries were a natural and probable consequence of
DuPont’s conduct.

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For Mrs. Bartlett’s injuries to be considered the natural and probable
consequence of an act, Mrs. Bartlett must prove that DuPont should have foreseen or
reasonably anticipated that injury would result from the alleged negligent act. The test
for foreseeability is not whether DuPont should have foreseen the injury exactly as it
happened to Mrs. Bartlett. Instead, the test is whether under the circumstances a
reasonably careful person would have anticipated that an act or failure to act would
likely resuit in or cause injuries.

Id. at 24,

The Jury found in favor of Mrs. Bartlett on her negligence claim, awarding her $1.1
million and also awarding her $500,000 on her negligent infliction of emotional distress claim.
(Jury Verdict, Bartlett ECF No. 142.) The Court accordingly entered judgement in favor of Mrs.
Bartlett. (Civil Judgment, Bartlett ECF No. 144.)

On February 3, 2016, DuPont settled the second bellwether case that was scheduled for
trial the following month.

On May 31, 2016, a jury was seated for the third bellwether trial, which was the second
to be tried: Freeman v, E. I. du Pont de Nemours and Co., 2:13-cv-1103. Mr. Freeman suffered
from the Linked Disease testicular cancer. The trial lasted six weeks. The jury instructions were
an exact duplicate of those provided in the Bartlett trial. (Final Jury Instructions at 19-24,
Freeman ECF No. 102.)

On July 6, 2016, the jury delivered a verdict in favor of Mr. Freeman on his negligence
claim, awarding him $5.1 million. (Jury Verdict Form For Negligence Claim at 1, Freeman ECF
No. 97.) Additionally, the jury answered affirmatively the single interrogatory:

If you found in favor of Mr. Freeman on his negligence claim, do you find
that Mr. Freeman has proven by clear and convincing evidence that DuPont acted
with actual malice and that Mr. Freeman has presented proof of actual damages that
resulted from those acts or failures to act of DuPont? (“Actual malice” means a
conscious disregard for the rights and safety of other persons that has a preat
probability of causing substantial harm.)

(Jury Verdict Interrogatory at 2, Freeman ECF No. 97.)

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The Court therefore moved into phase two of the trial, which lasted less than one (1) day.
(Civ. Minutes at 1, Freeman ECF No. 98.) The jury found in favor of Mr. Freeman on his
punitive damages claim, awarding him $500,000. (Jury Verdict Form at 1, Freeman ECF No.
100.) The Court thus entered judgment in favor of Mr. Freeman. (Judgment in a Civ. Case,
Freeman ECF No. 101.)

Thereafter, DuPont’s counsel informed the Court that the last two bellwether cases had
settled. No bellwether cases remained; the parties notified the Court that there were no ongoing
negotiations. The Court, therefore, turned its attention to the effective administration of the
thousands of cases that constituted this MDL, as explained in CMO 20. (CMO 20, Order on
Defendant’s Objection to the November 2016 and J anuary 2017 Trial Schedules, MDL ECF No.
4624.)

On July 18, 2016, the PSC selected Kenneth Vigneron, Sr., for the already scheduled
November 2016 trial: Kenneth Vigneron, Sr. v. E. I. du Pont de Nemours Company, Case No.
13-cv-136. (CMO No. 18, Pretrial Schedule for Vigneron Trial, MDL ECF No. 4588.) Mr.
Vigneron had suffered from the Linked Disease testicular cancer. Mr. Vigneron’s trial began on
November 14, 2016, and lasted approximately five weeks. The jury instructions on the
negligence claim were the same as those provided in the Bartlett and Freeman trials. (Final Jury
Instructions at 20-24, Vigneron ECF No. 195.)

On December 21, 2016, the jury delivered a verdict in favor of Mr. Vigneron on his
negligence claim, awarding him $2 million, (Jury Verdict Form For Negligence Claim at 1,
Vigneron ECF No. 176.) Additionally, as was the case in the Freeman trial, the jury answered
affirmatively the single interrogatory that led to the punitive damages phase of the trial, which

lasted less than one day. (Jury Verdict Form For Negligence Claim, Vigneron ECF No. 176 at 2:

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Civ. Minutes at 1, Vigneron ECF No. 192.) The jury found in favor of Mr. Vigneron, awarding
him $10.5 million in punitive damages. (Jury Verdict Form at 1, Vigneron ECF No. 193.)

The fourth trial began on January 18, 2017: Larry Ogle Moody v. E. L du Pont de
Nemours Company, Case No. 15-cv-803. (CMO 19, Pretrial Schedule for Moody Trial, MDL
ECF No. 4591.) The plaintiff, Larry Ogle Moody, had suffered from the Linked Disease
testicular cancer. During the third week of Mr. Moody’s trial, the case was reported settled, and
the trial was discontinued at DuPont’s request. (Civ. Minutes at 1, Moody ECF No. 60.)

D. Appeal to the Sixth Circuit

On October 27, 2015, DuPont filed in the Bartlett case its Motion for Judgment as a
Matter of Law or, Alternatively, for a New Trial and Remittitur, which was fully briefed by
December 2015. (Bartlett ECF Nos. 151, 158, 159.) DuPont argued that it was entitled to
judgment as a matter of law or a new trial. DuPont highlighted this Court’s interpretation of the
Leach Settlement Agreement as set forth in DMO 1 and DMO 1-A, stating:

Pursuant to Fed. R. Civ. P. 50(b) and Fed. R. Civ. P. 59(a), Defendant E. I.

du Pont de Nemours and Company (“DuPont”) hereby moves for judgment as a

matter of law or alternatively, for a new trial and/or remittitur on Plaintiff Carla

Bartlett’s claims.

Most fundamentally, the Court’s erroneous interpretation of the Leach Class Action

Settlement Agreement (“Leach Settlement”) constituted a threshold error that

pervasively impacted the trial and negated fundamental terms that were the very

basis for resolving the Leach class action. The Court rewrote the unambiguous
agreement not to contest general causation and interjected an improper assumption

that a prima facie case on specific causation existed—in direct contradiction of both

the Leach Settlement and the Science Panel’s probable link finding.

(Def’s Mot. for Judgment and New Trial at 1, Bartlett ECF No. 151.)
In denying DuPont’s post-trial motion, the Court explained in detail “why DuPont’s

position on causation conflates the parties’ unambiguous definitions of general and specific

causation that they set forth in the Leach Settlement Agreement and effectively rewrites the

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Agreement’s provisions related to the function and application of the Probable Link Findings.”
(DMO 12 at 35, Bartlett ECF No. 161.)

On March 17, 2016, DuPont filed an appeal with the United States Court of Appeals for
the Sixth Circuit, bringing four issues before it, with only three being relevant to the issues
currently before the Court.? (Barlett v. E. I du Pont De Nemours and Company, Sixth Circ.
Case No. 16-3310, Appellant Brief.)

As to the first and second issues appealed, DuPont steadfastly presented the argument
that this Court’s interpretation of the Leach Settlement Agreement was the fundamental error
that subjected DuPont to an unfair trial not only in Bartlett but also in each and every case that
was before the Court in this MDL:

A threshold contract interpretation error eliminated the heart of a critical
defense for DuPont in each of the 3,500 cases in this MDL... .

The district court’s contract interpretation error can best be understood as

an improper interpretation of the class definition, the defined terms “Probable

Link,” “General Causation,” and “Specific Causation,” and how those terms

interrelated and fit in the context of the Agreement.
(/d., Appellant Brief at 1, 18.)

DuPont’s second assignment of error related to certain evidence heard by the jury from
one of Mrs. Bartlett’s expert witnesses, which DuPont tied to this Court’s interpretation of the
Leach Settlement Agreement, titling the section: “The District Court’s Erroneous Interpretation
Of The Agreement Distorted The Evidence At Trial.” Jd. at 32. Thus, this issue also hinged on
whether the Sixth Circuit agreed with DuPont that this Court erroneously interpreted the Leach

Settlement Agreement.

 

3 DuPont also appealed the jury instructions setting out the law of Mrs. Bartlett’s negligent
infliction of emotional distress claim. No other MDL plaintiff has alleged a stand-alone claim
for negligent infliction of emotional distress.

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As to the Tort Reform Act, DuPont’s third assignment of error, DuPont argued that this
Court erred by refusing to reduce the jury award under the Ohio Tort Reform Act. DuPont
asserted that, “[i]f the [Sixth Circuit] agrees with some or all of the arguments [made in this
appeal], it would remand for a new trial, clarifying that the Tort Reform Act applies. If it does
not grant a new trial, it would still remand for application of the Act to the jury’s verdict
reducing the total damages to $250,000.” Jd. at 51 n.4.

DuPont and the PSC on behalf of Mrs. Bartlett fully briefed the appeal, were assigned a
judicial panel, and vigorously presented their case at oral argument. See: http://www.opn.
ca6.uscourts.gov/internet/court_audio /aud2.php?link=audio/12-09-201 6%20-%20Friday/16-
3310%20Carla%20 Marie%20Bartlett %20v%20E%201%20 DuPont%20de%20Nemours
%20et% 20al.mp3 &name =16-3310%20Carla%20Marie%20 Bartlett%20v%20E%201%20
DuPont%20de%20Nemours%20et%20al (full transcript of oral argument).

Before the Sixth Circuit had the opportunity to issue its decision on DuPont's appeal,
DuPont informed this Court that it had contacted the Sixth Circuit asking it to hold the decision
because the Bartlett case had been settled along with the other cases in the MDL. On that day,
February 13, 2017, the Court was nearing the end of the fourth trial held in this MDL, Larry
Ogle Moody v. E. I. du Pont de Nemours Company, Case No. 15-cv-803. DuPont asked this
Court to wait to inform the litigants of the settlement because DuPont was required to file certain
documents with the SEC before publicizing the settlement.

On that same day, February 13, 2017, DuPont filed with the SEC a notice of its

settlement, indicating that it would pay $670.7 million to the Leach Class, “half of which will be

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paid by Chemours* and half paid by DuPont.” https://www.sec.gov/Archives/edgar/data/30554
/000110465917008291/a17-4311_18k.htm DuPont specified in the SEC Notice how future
Washington Works C-8 liability would be paid, stating:
DuPont and Chemours have also agreed, subject to and following the
completion of the Settlement, to a limited sharing of potential future PFOA
liabilities (Ze., “indemnifiable losses,” as defined in the separation agreement

between DuPont and Chemours (the “Separation Agreement”)) for a period of five
years.

During that five-year period, Chemours would annually pay future PFOA
liabilities up to $25 million and, if such amount is exceeded, DuPont would pay
any excess amount up to the next $25 million (which payment will not be subject
to indemnification by Chemours), with Chemours annually bearing any further
excess liabilities.
After the five-year period, this limited sharing agreement would expire, and
Chemours’ indemnification obligations under the Separation Agreement would
continue unchanged.
id.
II.
As anticipated by DuPont, the C-8 litigation did not end with the global settlement. The
JPML continued to conditionally transfer cases to this Court after the global settlement, and the
Court currently has over 50 new cases that are a part of this MDL — all cases brought by alleged
Leach Class members suffering from the Linked Disease testicular cancer and/or the Linked
Disease kidney cancer (“Post-Settlement Cases”).

DuPont moved the JPML “to vacate [its] orders that conditionally transferred” these

actions “for inclusion in MDL No. 2433” for several reasons, but primarily because “pretrial

 

* The SEC Notice states that DuPont owned the Washington Works plant during the time period
the C-8 was released and the facility “is now owned and/or operated by The Chemours
Company.” https://www.sec.gov/Archives/edgar/data/30554/0001 1046591 7008291 /a17-

4311_18k-htm
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proceedings in MDL No. 2433 [we]re complete.” (Transfer Order, MDL ECF No. 5 130.) The
JPML denied DuPont’s request, finding that the actions are “best coordinated by the Honorable
Edmund A. Sargus, Jr., who is intimately familiar with the factual and legal issues tn this
litigation.” Id. at 1. The JPML highlighted that “these actions will involve similar, if not
identical, pretrial motion practice.” Jd. It further found that “[t]ransfer of these actions to the
MDL thus will eliminate duplicative discovery, prevent inconsistent pretrial rulings, and
conserve the resources of the parties, their counsel, and the judiciary.” Jd. at 2.

Therefore, the Court followed the familiar, well-trodden path, meeting monthly with the
parties and issuing numerous management, pretrial, and evidentiary orders directed at the Post-
Settlement Cases. (CMO 24, Management of Newly-Filed, Post-Settlement Cases, MDL ECF
No. 5140); (CMO 25, Initial Scheduling of Post-Settlement Cases, MDL ECF No. 5 159); (PTO
48, Changed Directions for Selection of Trial Cases, MDL ECF No. 5 177); (CMO No. 26,
Pretrial and Trial Schedule for Swartz Trial, MDL ECF No. 5185); (CMO No. 27, Pretrial and
Trial Schedule for Abbott Trial, MDL ECF No. 5 186); (CMO No. 28, Discovery, Pretrial, and
Trial Management of the Post-Settlement Cases, MDL ECF No. 5 188); (PTO No. 49,
Memorializing January 29, 2019 Conference, MDL ECF No. 51 91); (PTO 50, Memorializing
May 18, 2019 Conference, MDL ECF No. 5197); (PTO No. 51, Consolidation of Cases for Trial,
MDL ECF No. 5214); (Discovery Order No. 13, Defendant’s Motion to Permit Rule 35 Medical
Examination in Swartz, 2:18-cv-136, MDL ECF No. 5238); (DMO No. 30, Granting in Part
Plaintiffs’ Motion for Clarification Regarding the Inapplicability of the Ohio Tort Reform Act,
MDL ECF No. 5231); (DMO No, 31, Denying Defendants’ Motion to Apply Tort Reform Act to
the Swartz Case, 2:18-cv-136, MDL ECF No, 5232); (PTO No. 52, Case Selection for Post-

Settlement Joint Trial No. 1, MDL ECF No. 5233); (CMO No. 29, Initial Pretrial Schedule for

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Joint Trial No. 1, MDL ECF No. 5234); (PTO No. 53, Joint Status Report, MDL ECF No. 5236);
(DMO No, 32, Defendant’s Motion to Reconsider Prior Rulings, MDL ECF No. 5241); (DMO
No. 33, Denying Defendant’s Motion to Reconsider Prior Rulings on Science Panel, MDL ECF
No. 5245); (CMO No. 30, Pretrial and Trial Schedule for Joint Trial No. 1, MDL ECF No.
5248); (PTO No. 54, Clarification of PRO Numbers, MDL ECF No. 5253); (EMO No. 25,
Defendant’s Motion to Exclude Corporate Conduct Expert Opinion, MDL ECF No. 5254);
(EMO No. 26, Defendant’s Motion to Exclude or Limit Dr. Barry S. Levy’s Trial Testimony,
MDL ECF No. 5255); (Discovery Motions Order No. 16, Plaintiffs’ Motion for a Protective
Order from Deposition of Bernard Reilly, JDL ECF No. 5256); (Pretrial Order No. 51-A,
Consolidation of Cases for Trial, MDL ECF No. 5279).

The first two of the Post-Settlement Cases to be tried have been selected and are currently
being prepared for trial. Angela and Teddy Swartz v. E. L du Pont de Nemours Company, Case
No. 2:18-cv-136; Travis and Julie Abbott v. E. I. du Pont de Nemours Company, Case No. 2:17-
cv-998. These two plaintiffs allege that they are members of the Leach Class who suffer from
kidney and testicular cancers, respectively. The plaintiffs’ spouses also bring loss of consortium
claims. Mrs. Swartz and Mr. Abbott, as well as the other plaintiffs who have filed Post-
Settlement cases, make the same allegations previously made by the 3,500-plus plaintiffs who
were part of the global settlement.

Plaintiffs’ claims for strict product liability under the Ohio Product Liability Act, Ohio
Rev. Code § 2307.71(B), consumer protection claims under Ohio and West Virginia Consumer
Sales Practices Act, Ohio Rev. Code § 1345.01 et seq., W. Va. Code § 46A-6-106(a), trespass to
persons, and ultrahazardous or abnormally dangerous activity were precluded from trial based on

this Court’s grant of summary judgment to DuPont on these claims. (DMO 4, Def’s Mot. for

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Summ. J., MDL ECF No. 3973.) Pursuant to this Court’s previous interpretation of the Leach
Settlement Agreement, the parties will try their negligence and punitive damages claims.

DuPont utilizes the same defenses it has since the inception of this MDL. In that vein,
similar to its requests made before the first trial in this MDL in DuPont’s Counter Motion for
Partial Summary Judgment (MDL ECF No. 1032), DuPont’s Overview Brief on Causations
Issues (MDL ECF No. 2813), DuPont’s Motion for Clarification Regarding DMO No. 1, Class
Membership and Causation (MDL ECF No. 2814), DuPont’s Post Trial Motion (Bartlett ECF
No. 151), and before the Sixth Circuit (App. No. 16-3310), DuPont again moved the Court to
adopt its interpretation of the Leach Settlement Agreement. DuPont presented the request as one
for this Court to modify its previous interpretations of the Leach Settlement Agreement, which,
DuPont continues to maintain are mischaracterizations of the terms of the contract. DuPont
made its request in two motions: “DuPont’s Motion to Exclude Mischaracterizations Related to
the Science Panel and the Probable Link Findings from the Swartz Case” and “DuPont’s Motion
for Interpretation of the Leach Agreement with Respect to Specific Causation in the Swartz
Case.” (Swartz ECF Nos. 50, 51.)

DuPont framed its request as follows:

While the Court has previously made various rulings regarding contract

interpretation and causation issues, DuPont presents new arguments, new facts, and

new case law. DuPont also focuses here on the critical specific causation issues

that will be a key part of the Swartz trial, and therefore seeks modifications of the

Court’s prior rulings involving contract interpretation in the context of the Swartz
case.

(DuPont’s Mot. for Interp. of the Leach Settlement Agreement at 1-2, Swartz ECF No. 51.)
Regardless of how DuPont titled the two motions or couched its arguments in them, there
are no “new arguments, new facts, [or] new case law” that impact the Court’s interpretation of

the Leach Settlement Agreement — nor does DuPont claim that there are. Instead, the

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“arguments” have been made numerous times to this Court, as well as before the Sixth Circuit.
Nevertheless, even if any of the arguments were considered to be “new,” (which they are not)
nothing prevented DuPont from previously raising them. Any arguments that were available but
not made do not justify this Court revisiting final and binding decisions interpreting the Leach
Settlement Agreement. DuPont points to no law that supports this proposition.

Additionally, the “facts” that are different between class members (e.g., their age, sex,
medical histories, illnesses, water consumption locations, etc.), are relevant to specific causation
(which will not be precluded) but have no relevance to the Court’s contract interpretation. There
are no individualized facts from any of the prior trials that had any effect at all on this Court’s
interpretation of the Leach Settlement Agreement. This Court’s interpretation of the Leach
Settlement Agreement has remained consistent and the Court has applied its interpretation of the
Agreement to the facts of each of the four prior cases that went to trial.

Finally, no “new law” issued after this Court’s decisions interpreting the Leach
Settlement Agreement that has changed the applicable legal landscape. Indeed, DuPont does not
claim that there is. Rather, DuPont merely contends that it “presents... new case law.” Id. at 1
(emphasis added). In other words, the new case law to which DuPont refers is merely a selection
of cases that DuPont contends support its position and upon which it previously did not rely. To
the extent that DuPont may reference cases issued after this Court’s judgment and/or DuPont’s
appeal, nothing changed the law upon which this Court relied. And, again, DuPont makes no
claim otherwise.

Consequently, the day after DuPont filed the two motions asking for modification of the
Leach Settlement Agreement, this Court denied them both in DMO 32, highlighting that it would

not reconsider its contract interpretation. (DMO 32, Defendant’s Motion to Reconsider Prior

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Rulings, MDL ECF No. 5241, Swartz ECF No. 57.) The Court issued DMO 32 before it
permitted briefing on the issue, explaining inter alia that:

A Court does a grave injustice to the judicial system if it continues to utilize
scarce judicial resources to address issues that the parties have had a full and fair
opportunity to litigate. The Court’s declination to address these issues again not
only protects judicial resources but also protects the parties from the expense and
vexation attendant to multiple, repetitive briefing of the same issue and fosters
reliance on judicial action.

id. at 3.

As to the issue of the Tort Reform Act, Plaintiffs filed a Motion for Clarification
Regarding the Inapplicability of the Ohio Tort Reform Act to Plaintiffs’ Claims, in which they
asked this Court to rule consistently with the prior decisions. The Court granted that motion,
indicating that the “Court indeed intends to stay consistent with its prior decisions.” Jd. at 4.

Ti.

Plaintiffs move for partial summary judgment “[b]ased upon issue preclusion (collateral
estoppel), [because] there are no genuine issues of fact relating to duty, breach, and general
causation in Plaintiffs’ negligence claim, no issues of fact relating to the interpretation of the
Leach agreement and no genuine issues of fact relating to the inapplicability of the Ohio Tort
Reform Act.” (Pls’ Mot. at 1, MDL ECF No. 5274.) DuPont contends that Plaintiffs’ Renewed
Motion should be denied because it relies upon the “wrong substantive law,” fails to properly
apply the law to the facts, and seeks to deprive DuPont of its “fundamental right to defend itself
against the individual personal injury actions pending in this MDL.” (Def’s Mem. in Opp. at 1,
MDL ECF No. 5278; Def’s Sur-Reply at 1, MDL ECF No. 3281-1.) DuPont also contends that

the Court should not even review the substantive arguments in Plaintiffs’ Renewed Motion

because it is untimely. The Court will address the substantive arguments in this section of this

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decision and wiil address the procedural argument below in section V, with Plaintiffs’ procedural
arguments related to DuPont’s request to file a sur-reply.
A. Summary Judgment

Summary judgment is appropriate “if the movant shows that there is no genuine issue as
to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
56(a). “A motion for summary judgment is an appropriate vehicle for presenting prior
judgments,” 18 Moore’s Federal Practice § 132.05[27], 132-184 (summary judgment is proper
procedure for asserting issue preclusion).
B. Collateral Estoppel

In their Renewed Motion, Plaintiffs initially relied upon federal preclusion law. In its
memorandum in opposition, however, DuPont contends that Ohio preclusion law applies.
DuPont appropriately addresses both federal and state law, arguing that, under either, Plaintiffs
are not entitled to issue preclusion on any of the issues raised in their current motion for partial
summary judgment. DuPont bolstered its arguments in its Sur-reply. In Plaintiffs’ Reply, they
disagree that Ohio law applies, but maintain that even if it did, they are still entitled to issue
preclusion. As explained below, however, it is of no moment in the instant analysis because
under either federal or state law the doctrine of issue preclusion applies to the issues presented in
Plaintiffs’ Renewed Motion.

1. Collateral Estoppel / Issue Preclusion

Federal preclusion law “bars successive litigation of an issue of fact or law actually
litigated and resolved in a valid court determination essential to the prior judgment,’ even if the
issue recurs in the context of a different claim.” Gen, Elect. Med Sys. Europe v. Prometheus

Health, 394 Fed. Appx. 280, 283 (6th Cir. 2010) (citing Taylor v. Sturgell, 553 U.S. 880, 891-93

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(2008) and New Hampshire v. Maine, 532 U.S. 742, 748-49 (2001)). The Sixth Circuit has
explained the elements necessary for a prior decision to have preclusive effect:
(1) the precise issue raised in the present case must have been raised and actually
litigated in the prior proceeding; (2) determination of the issue must have been
necessary to the outcome of the prior proceeding; (3) the prior proceeding must
have resulted in a final judgment on the merits; and (4) the party against whom

estoppel is sought must have had a full and fair opportunity to litigate the issue in
the prior proceeding.

Nat'l Satellite Sports, Inc. v. Eliadis, Inc., 253 F.3d 900, 908 (6th Cir. 2001) (citations omitted).

Under Ohio law, collateral estoppel applies to an issue that “(1) was actually and directly
litigated in the prior action; (2) was passed upon and determined by a court of competent
jurisdiction, and (3) when the party against whom collateral estoppel is asserted was a party in
privity with a party to the prior action.” State ex rel. Davis v. Pub. Emps. Ret. Bd., 174 Ohio
App. 3d 135, 144 (Ohio App. 10th Dist. 2007), aff'd, 120 Ohio St. 3d 386 (2008) (citing
Whitehead, 20 Ohio St. 2d 108, paragraph two of the syllabus (1969)).

2. Federal Law

DuPont argues that federal law dictates that state preclusion law applies to judgments of a
federal district court when it hears cases in its diversity jurisdiction:

In determining the preclusive effect of a prior federal-court judgment rendered

within the Court’s diversity jurisdiction, “the federally prescribed rule of decision

[is] the law that would be applied by state courts in the State in which the federal

diversity court sits.” Semtek Int'l Inc., 531 U.S. at 507-08; see also Taylor, 553

U.S. at 891 n.4 (reaffirming Semtek); Leonard v. RDLG, LLC (In re Leonard), 644

F. App’x 612, 616 (6th Cir. 2016) (embracing and applying Semtek).
(Def’s Mem. in Opp. at 7, MDL ECF No. 5278.)

Plaintiffs disagree, asserting that “Semtek involved the preclusive effect of a dismissal
with prejudice under Rule 41(b) -- not issue preclusion -- and therefore has limited application to

the issue before this Court.” (Pls Reply at 3, MDL ECF No. 5280) (citing Zanke-Jodway v.

Fifth Third Mortg. Co., 557 B.R. 560, 565 (Bankr. E.D. Mich. 2016) (“Essentially, Semtek
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means that when a federal court dismisses an action while incorporating state law, it does not
necessarily mean that the action is barred from being brought in another state where the law is
different.”).

In Semtek the Supreme Court reaffirmed that it has “the last word on the claim-preclusive
effect of all federal judgments.” Semtek Intern. Inc. v. Lockheed Martin Corp., 531 U.S. 497,
507 (2001). In reviewing precedent, the Court explained that,

in Dupasseur [v. Rochereau, 88 U.S. 130 (1874)] the State was allowed (indeed,

required) to give a federal diversity judgment no more effect than it would accord

one of its own judgments only because reference to state law was the federal rule

that this Court deemed appropriate.

In short, federal common law governs the claim-preclusive effect of a dismissal by

a federal court sitting in diversity. See generally R. Fallon, D. Meltzer, & D.

Shapiro, Hart and Wechsler’s The Federal Courts and the Federal System 1473 (4th

ed.1996); Degnan, Federalized Res Judicata, 85 Yale L.J. 741 (1976).
fd. at 508 (emphasis in original).

In other words, federal common law applied to the trial court’s analysis, and that law
dictated that the “claim preclusive effect of the federal diversity court’s dismissal was governed
by federal rule that in turn incorporated the forum state’s law of claim preclusion.” Jd. at 497;
see id, at 509 (“Because the claim-preclusive effect of the California federal court’s dismissal
‘upon the merits’ of petitioner’s action on statute-of-limitations grounds is governed by a federal
rule that in turn incorporates California’s law of claim preclusion (the content of which we do
not pass upon today), the Maryland Court of Special Appeals erred in holding that the dismissal
necessarily precluded the bringing of this action in the Maryland courts.”).

This Court, however, need not determine whether the federal common law would

incorporate Ohio’s claim preclusion law under the facts of the cases that make up this MDL

because Semtek made clear that “[t]his federal reference to state law will not obtain, of course, in

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situations in which the state law is incompatible with federal interests.” Jd. at 509. In Semtek,
“there [wa]s no conceivable federal interest in giving [the California] time bar more effect in
other courts than the California courts themselves would impose.” id.

But in the case sub judice, Plaintiffs contend that significant federal interests are at issue
that could prevent incorporation of Ohio law if it were to dictate a different result than federal

law:

Here, this Court clearly has a compelling and overriding federal interest in the

effective and uniform administration of justice. This Court has overseen three trials

on identical issues against the same defendant and three separate juries issued

identical rulings on the issues that are the subject of Plaintiffs’ Renewed Motion.

DuPont appealed numerous issues to the Sixth Circuit which heard oral argument

on DuPont’s appeal. DuPont voluntarily dismissed its appeal and a final judgment

has been entered in the three cases that went to trial. This Court clearly has a

significant federal interest in administering its docket, streamlining litigation

proceedings, conserving judicial resources and preventing “panel shopping.”
(Pis’ Reply at 4-5, MDL ECF No. 5280.) This Court agrees.

The JPML entrusted these cases to this Court under a uniquely federal statutory scheme
with no Ohio law analogue to “promote the just and efficient conduct of this litigation” and
“conserve the resources of the parties, their counsel and the judiciary.” (Transfer Order at 1,
MDL ECF No. 1.) Moreover, “[o]ne of the strongest policies a court can have is that of
determining the scope of its own judgments.” J.Z.G. Resources, Inc. v. Shelby Ins. Co., 84 F.3d
211, 214 (6th Cir. 1996) (evaluation application of res judicata). See also § 4472 Effect of State
Law on Federal Res Judicata Rules, 18B Fed. Prac. & Proc. Juris. § 4472 (2d ed.) (“[S]tate law
might not always be incorporated. For example, the federal interest in the integrity of federal

procedure might justify enforcement of a federal claim-preclusion rule following dismissal for

willful violation of discovery orders despite a contrary state rule.”).

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As to Plaintiffs’ clam that DuPont is panel shopping in the Court of Appeals, the
undersigned is confident that the Sixth Circuit is better suited to address such concerns. * This
Court considers the issue only with regard to its own administration of the cases on the Court’s
docket.

It remains that DuPont presented its assignments of error to a panel of the Sixth Circuit.
Instead of waiting for a decision, DuPont chose to settle the case. DuPont could easily have
excluded the Bartlett case from settlement, since it was ripe for decision, pending at that time for
over one year at the Sixth Circuit, (See Sixth Circuit Dramatically Lowers Time to Resolve
Appeals, Squire Patton Boggs Sixth Cir. App. Blog, https://www.sixthcircuit
appellateblog.com/news-and-analysis/ sixth-circuit-dramatically-lowers-time-to-resolve-appeals/)
(“the Sixth Circuit averaged just 9.9 months as of December 2013—and the average for 2014 so
far has been just 8.7 months”). DuPont chose not to do so.

In the event of another loss at trial, DuPont has stated repeatedly to this Court in its Post-
Settlement filings that it seeks to have the exact same issues brought before another panel of the
Sixth Circuit. (See e.g., DuPont’s Notice of Preservation of Arguments, Objections, and

Positions Set Forth in Previously-Addressed Motion in Limine, Swartz ECF No. 92) (“DuPont

 

* The Court notes that the Sixth Circuit takes steps to prevent a party from avoiding a particular
panel of judges with its rule that subsequent appeals may be returned to the original panel:

Subsequent Appeals Returned to Original Panel. In appeals after this court returns
a case to the lower court or agency for further proceedings, or after the Supreme Court
of the United States remands a case to this court, the original panel will determine
whether to hear the appeal or whether it should be assigned to a panel at random.

6 Cir. 1.O.P. 34(b)(2). Under this rule it is unclear whether an appeal in this case would be
returned to the same panel, and even if the case did fit within the rule, the assignment is
discretionary. Additionally, the Sixth Circuit also limits continuances of oral afgument once the
names of the panel members are known. See 6 Cir. R. 34(b), (d); 6 Cir. LO.P. 34(a), (c).

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expressly preserves for appeal ail of its positions, objections, and arguments as set forth and
incorporated in each of the motions listed above and, to the extent applicable, also preserves all
claims of error and its positions, objections, and arguments as to why different rulings should
have been made.”); (Def’s Opposition to Pl’s Mot. to Exclude Expert Opinion at 2, fn. 1, Swartz
ECF No. 66) (“DuPont continues to preserve, and does not waive, any of its arguments and
positions regarding causation and the proper meaning and application of the Leach Agreement in
these cases, and incorporates by reference all current and prior relevant briefing and oral
arguments in the MDL and the individual cases on these issues.”).

All of these claims serve to (1) require considerable analysis and opinion writing from
this Court; (2) necessitate further, lengthy, multiple week trials; and (3) involve additional delay
on future appeals. All of this docket congestion, delay, and expense could have been avoided
had DuPont simply maintained its original appeal. Instead, DuPont voluntarily dismissed a
nearly completed appeal and now seeks to avoid the consequences.

DuPont contends that there is no federal interest that warrants setting aside state
preclusion principles:

First, “offensive use of issue preclusion does not promote judicial economy”

because it has the ability to “increase rather than decrease the total amount of

litigation.” 18 Moore’s Federal Practice § 132.04[2][c], 132-166; see also S. Pac.

Comme'ns Co. v. Am. Tel. & Tel. Co., 740 F.2d 1011 (D.C. Cir. 1984) (offensive

use of issue preclusion could be employed in a manner that promotes “judicial

diseconomy.”). Offensive issue preclusion gives Plaintiffs “every incentive to

adopt a ‘wait and see’ attitude, in the hope that the first action by another plaintiff

will result in a favorable judgment.” 18 Moore’s Federal Practice §

132.04[2][c][iii]. The imposition of offensive non-mutual collateral estoppel in this

litigation is highly likely to increase, rather than decrease, the total amount of
litigation. This is particularly so where additional Plaintiffs with claims based on

ever more attenuated claims of exposure seck to benefit from determinations

reached in earlier trials relying on different plaintiff-specific facts.

Second, PSC’s stated interests in judicial economy are present in every case
in which collateral estoppel might apply. The Supreme Court squarely addressed

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these interests when it determined that state collateral estoppel law should apply to
the judgment of a federal court sitting in diversity, absent specific federal interests
that are plainly not present here.

Third, PSC concedes that collateral estoppel cannot apply to Plaintiffs’
punitive damage claims, and each Plaintiff must still adduce largely the same
evidence he or she uses to attempt to prove negligence claims in order to prove
entitlement to punitive damages—thus eliminating any claimed trial efficiencies
from issue preclusion.

(Sur-Reply at 6, MDL ECF No. 5281-1.)

In the first argument, DuPont selectively quotes Moore’s Federal Practice. The treatise
does not state that “offensive use of issue preclusion does not promote judicial economy.”
Instead, it states that “offensive use of issue preclusion does not promote judicial economy in the
same manner as defensive use does” — a different proposition. 18 Moore’s Federal Practice §
132.04[2][c], 132-166. The treatise then goes on to explain:

Defensive use of issue preclusion precludes a plaintiff from relitigating identical

issues by merely “switching adversaries.” Therefore, defensive issue preclusion

gives a plaintiff a strong incentive to join all potential defendants in the first action

if possible. Offensive use of issue preclusion, on the other hand, creates precisely

the opposite incentive. Inasmuch as a plaintiff will be able to rely on a previous

judgment against a defendant but will not be bound by that judgment if the

defendant wins, the plaintiff has every incentive to adopt a “wait and see” attitude,

in the hope that the first action by another plaintiff will result in a favorable

judgment. Therefore, offensive use of issue preclusion could increase rather than

decrease the total amount of litigation, because the potential plaintiffs will have

“everything to gain and nothing to lose” by not intervening in the first action.

18 Moore’s Federal Practice § 132.04[2][c], 132-166.

Unlike many plaintiffs, the plaintiffs before the Court in the Post-Settlement Cases are in
a unique position related to any choice or strategy. There is no opportunity to “wait and see” in
this action and intervention is simply not an option. These plaintiffs are bound by the Leach

Settlement Agreement. They must each first suffer from a Probable Link disease. If they do,

then each must timely file a negligence action, prove that they were subjected to the C-8

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contaminated water for a particular amount of time, during a particular period of time, in a
particular water district or wells in a particular geographic area. These plaintiffs’ procedural
options are circumscribed by the Leach Settlement Agreement,

Further, while the case relied upon by DuPont in the quoted passage above, 5S. Pac.
Commce’ns Co. v. Am. Tel. & Tel. Co., 740 F.2d 1011 (D.C. Cir. 1984), did state that offensive
use of issue preclusion could be employed in a manner that promotes “judicial diseconomy,” that
court went on to conclude:

Nevertheless, the promotion of judicial economy remains a goal of
offensive collateral estoppel. The court decided to leave to the district courts the

task of protecting against abuse of the doctrine.

Id. at 1019 n.9 (citing Parklane Hosiery Co. v. Shore, 439 U.S. 322, 326 (1979)).

Next, DuPont contends that judicial economy does not warrant setting aside state
preclusion issues because judicial economy interests are present in every case. DuPont further
claims that there will be no efficiencies in future cases because a Plaintiff must still adduce
largely the same evidence he or she uses to attempt to prove negligence claims in their attempt to
prove their punitive damages claims. This Court has presided over four trials, knows the
evidence that was presented, and disagrees. Application of issue preclusion would certainly
conserve the resources of this Court, as well as those of the parties, by providing substantial trial
and pretrial efficiencies.

Finally, DuPont argues that “[g]overning precedent recognizes that ‘the Supreme Court
[has] explicitly stated that offensive collateral estoppel could not be used in mass tort litigation,”
further undercutting PSC’s renewed motion.” (Def’s Mem. in Opp. at 2, MDL ECF No. 5278)
(citing In re Bendectin Prods. Liab. Litig., 749 F.2d 300, 306 n.11 (6th Cir. 1984); Parklane

Flosiery Co., 439 U.S. at 330 & n.14). Initially, the Court notes that the statement upon which

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DuPont relies is dicta. Even if it were not, it is certainly incongruent with the United States
Supreme Court pronouncement made in Parklane Hosiery that there is no blanket prohibition on
the application of collateral estoppel, as is highlighted by the Sixth Circuit:

The nub of the holding [in Parklane Hosiery], however, was that the decision
whether or not to apply collateral estoppel was left to the broad discretion of the
district judge under the applicable circumstances:

We have concluded that the preferable approach for dealing
with these problems in the federal courts is not to preclude the use
of offensive collateral estoppel, but to grant trial courts broad
discretion to determine when it should be applied.

City of Cleveland v. Cleveland Elec. Illuminating Co., 734 F.2d 1 157, 1165 (6th Cir. 1984)
(parallel citation omitted, emphasis in original) (quoting Parklane Hosiery, 439 U.S. at 331).

In light of the broad grant of discretion which this Court is directed to exercise pursuant
to the Parklane factors, the Court agrees with our sister district court’s assessment of the
statement in the footnote in In re Bendectin Products Liability Litigation:

[T]his court is puzzled by the broad comment of the Sixth Circuit in Bendectin that,
“[i]n Parklane Hosiery the Supreme Court explicitly stated that offensive collateral
estoppel could not be used in mass tort litigation. A close reading of Parklane
Hosiery reveals that the Court (1) authorized the use of offensive collateral
estoppel, and (2) only mentioned, but did not broadly accept, the arguments that
have been advanced against the wholesale application of offensive collateral
estoppel.

In re Air Crash at Detroit Metro. Airport, Detroit, Mich. on Aug. 16, 1987, 776 F. Supp. 316,
324-25 (E.D. Mich. 1991) (citation omitted; emphasis in original). The court continued:

Accordingly, this court cannot blithely accept the proposition that offensive
collateral estoppel is inappropriate because [Plaintiffs] are part of “mass tort
litigation.” This court interprets Bendectin as precluding the utilization of offensive
estoppel in a mass tort litigation situation that would be similar to that in Professor
Currie’s hypothetical and in other situations in which its application would be
unfair to the defendant. The contours of when offensive collateral estoppel would
be unfair—even in mass tort litigation—should be developed on a case-by-case
basis. Invoking the term “mass tort litigation” is meaningless without contextual

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analysis. The teaching of Parklane Hosiery is that the issue is delicate and must be
handled in this manner,

Id. at 325.

Consequently, the Court finds that if Ohio preclusion law applied here and if it were to
dictate a different result than federal law, reference to state law could not obtain. However, the
Court need not cross this bridge because, as shown below, Ohio preclusion law and federal
preclusion law both support the application of collateral estoppel.

3. Ohio Law

Ohio’s doctrine of collateral estoppel is very similar to the federal doctrine, and “has
been explained by [the Ohio Supreme Court to be preclusion of the relitigation in a second
action of an issue or issues that have been actually and necessarily litigated and determined in a
prior action.” Goodson v. McDonough Power Equip., Inc., 2 Ohio St. 3d 193, 195 (1983) (citing

Whitehead v. Gen. Tel. Co., 20 Ohio St.2d 108 (1969)).

 

° Parklane Hosiery provides an example of a situation in which offensive collateral estoppel
might be unfair is when

a railroad collision injures 50 passengers all of whom bring separate actions against
the railroad. After the railroad wins the first 25 suits, a plaintiff wins in suit 26.
Professor Currie argues that offensive use of collateral estoppel should not be
applied so as to allow plaintiffs 27 through 50 automatically to recover.

id. at n. 14 (emphasis added). This example most likely was used to illustrate the potential
unfaimess of inconsistent judgments. See, e.g., Glictronix Corp. v. Am. Tel. & Tel. Co., 603 F.
Supp. 552, 568 (D.N.J. 1984) (Professor Currie’s example was io illustrate the potential
unfaimess of inconsistent judgments); Robi v. Five Platters, Lnc., 838 F.2d 318, 329 n.9 (9th Cir.
1988) (same); Gen. Dynamics Corp. v. AT&T, 650 F. Supp. 1274, 1285 (N.D. Ill. 1986) (same);
Algie v. RCA Global Comme’n , 891 F. Supp 839, 856 (S.D.N.Y. 1994) (same); Wash. Alder
LLC v. Weyerhaeuser Co., 2004 U.S. Dist. LEXIS 9650, at *10 n.3 (D. Or. 2004) (two verdicts
in favor of Plaintiffs support issue preclusion and “Defendant’s citation to “Professor Currie’s
familiar example” is far off the mark.”) In this MD,L there are no inconsistent judgments on any
of the issues that Plaintiffs seek to exclude.

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The main difference between Ohio and federal law, in DuPont’s view, is that “Ohio law
forbids the use of offensive non-mutual collateral estoppel in this MDL.” (Def’s Sur-Reply at 8,
MDL ECF No. 5281-1.) Specifically, DuPont argues:

Ohio law does not permit offensive non-mutual collateral estoppel:

In Ohio, the general rule is that mutuality of parties is a requisite to
collateral estoppel, or issue preclusion. As a general principle,
collateral estoppel operates only where all of the parties to the
present proceeding were bound by the prior judgment. A judgment,
in order to preclude either party from relitigating an issue, must be
preclusive upon both.

Goodson, 2 Ohio St. 3d 193, syllabus at 1.

(Def’s Mem. in Opp. at 7, MDL ECF No. 5278.)

DuPont further contends:

The strict mutuality generally required in Ohio may be relaxed only in rare and

narrow circumstances such as where “the party to be precluded had the opportunity

to fully litigate the issue, and . . . the preclusion is defensive.”

Id. at 8 (quoting Kiara Lake Estates, LLC v. Bd. of Park Comm rs, No. 2:13-cv-522, 2014 U.S.
Dist. LEXIS 23603, at *14 (S.D. Ohio Feb. 24, 2014)).

This Court disagrees with DuPont’s assessment.

First, DuPont’s statement that “Ohio law does not permit offensive non-mutual collateral
estoppel” is inaccurate. Id. at 7. Indeed, the next quote utilized by DuPont reveals as much —
Le., “the general rule is that mutuality of parties is a requisite to collateral estoppel.” Goodson, 2
Ohio St. 3d 193, syllabus at 1 (emphasis added). As explained this year by an Ohio appellate
court, Goodson, the case upon which DuPont relies, specifically sets out an exception to this
general principle:

An exception to the principle of mutuality may be recognized where it is shown

that the party against whom collateral estoppel is asserted “clearly had his day in
court on the specific issue brought into litigation within the later proceeding.”

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[Goodson v. McDonough Power Equip., Inc., 2 Ohio St.3d] at 200: see also Yeager

v. Ohio Civil Rights Comm., 11th Dist. Trumbull No. 2004-T-0099, 2005-Ohio-

6151, 940 (nonmutuality may be allowed where justice reasonably requires it).

Schmitt v. Witten, 2018-T-0086, 2019 WL 2172827, at *4 (Ohio App. 11th Dist. May 20, 2019).

Second, DuPont’s assertion that mutuality may be relaxed in situations “where ‘the party
to be precluded had the opportunity to fully litigate the issue, and . . . the preclusion is defensive”
is also an inaccurate statement of law. (Def’s Mem. in Opp. at 7, MDL ECF No. 5278.) Ohio
law permits more than defensive preclusion. Indeed, as DuPont admits in a footnote, the Ohio
Supreme Court in Goodson explained that it has permitted the use of offensive non-mutual
collateral estoppel “where justice would reasonably require it.” Goodson, 2 Ohio St. 3d at 199
(citing Hicks v. De La Cruz, 52 Ohio St. 2471 (1977)).

Thus, while Ohio law generally requires mutuality of parties, it makes exceptions when
the party against whom estoppel is asserted “clearly had his day in court on the specific issue
brought into litigation within the later proceeding” and/or “where justice would reasonably
require it.” fd. at 200.

Moreover, Plaintiffs suggest that here, actual mutuality of parties exists because Ohio
defines privity broadly in the preclusion context, referring to “what constitutes” it as “somewhat
amorphous.” Brown v. Dayton, 89 Ohio St. 3d 245, 248 (2000). The Ohio Supreme Court
explains:

A contractual or beneficiary relationship is not required:

“In certain situations . . . a broader definition of ‘privity’ is
warranted, As a general matter, privity ‘is merely a word used to
say that the relationship between the one who is a party on the record
and another is close enough to include that other within the res
judicata.”

id. (citations omitted). Indeed, “[p]rivity is defined broadly to include a ‘mutuality of interest,

including an identity of desired result.’” Garnet v. Ohio Civ. Rights Commn., 2004-T-0099,
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2005 WL 3097871, at *6-7 (Ohio App. 11th Dist. Nov. 18, 2005) (quoting Brown, 89 Ohio St.3d
at 248).
In the instant action, Plaintiffs persuasively argue:

Therefore, under the relaxed concept of privity that Ohio courts apply for
purposes of collateral estoppel, neither a contractual nor a beneficial relationship is
necessary. Brown, 730 N.E.2d at 962. Even though, Plaintiffs do have a
contractual relationship with DuPont by virtue of the Leach Settlement Agreement,
Plaintiffs also clearly have a mutuality of interest and an identity of a desired result.
All Plaintiffs with cases pending in this MDL allege that they have been injured as
a result of drinking water contaminated with DuPont’s C-8, have a substantive legal
contractual relationship with DuPont by virtue of being Leach class members, and
share the identity of a desired result — namely damages as a result of contracting
cancer. Moreover, DuPont and Leach class members are also in privity as they are
both bound by the judgement in Leach which has preclusive effect on claims
between the parties.

(Pis’ Reply at 6-7, MDL ECF No. 5280.)
IV.

For collateral estoppel to apply under Ohio and/or federal law, a plaintiff must show that
the issue was actually and directly litigated, was necessary to the outcome of the prior
proceeding, resulted in a final judgment on the merits, and the party against whom estoppel is
sought had a full and fair opportunity to litigate in the prior proceeding. Nat'l Satellite Sports,
Inc. v. Eliadis, Inc., 253 F.3d 900, 908 (6th Cir. 2001); State ex rel. Davis v. Pub. Emps. Ret. Bd,
174 Ohio App. 3d 135, 144, 2007-Ohio-6594, at ] 18. Plaintiffs argue:

Based upon issue preclusion (collateral estoppel), there are no genuine issues of
fact relating to duty, breach, and general causation in Plaintiffs’ negligence claim,
no issues of fact relating to the interpretation of the Leach agreement and no
genuine issues of fact relating to the inapplicability of the Ohio Tort Reform Act.
Three juries in this MDL already have found that defendant [DuPont] breached that
duty by the negligent discharge of C-8 into the environment, and that the C-8 that
each Plaintiff, as a Leach class member, was exposed to was capable of causing
each such Plaintiffs kidney or testicular cancer. Plaintiffs therefore seek to use

issue preclusion offensively to preclude DuPont from re-litigating, once again, the
issues of duty, breach, and general causation with respect to Plaintiffs’ exposures

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to C-8, as Leach class members, being capable of causing Plaintiffs’ kidney and
testicular cancers.

This Court has also ruled numerous times on issues relating to the
interpretation of the Leach Agreement, including on issues relating to class
membership and causation, and the inapplicability of the Ohio Tort Reform Act,
and further challenges to its prior rulings on these issues are a waste of the Court’s
and Plaintiffs’ time and resources. Indeed, not only has this Court issued numerous
rulings on these issues, but DuPont has also fully briefed and argued these issues
before the Sixth Circuit only to dismiss its appeal at the eleventh hour. (Joint Mot.
to Dismiss Appeal, Bartlett v. E. I du Pont de Nemours & Co, No. 16-3310 (6th
Cir) [ECF No. 41]). DuPont vigorously fought the three bellwether’ lawsuits
through verdict and post-trial motion, including one appeal to the Sixth Circuit. It
had a full and fair opportunity to litigate all liability issues. And the jury’s
determinations on key issues were reduced to final judgments subject to appeal. To
allow DuPont to continually re-argue these issues is an afront to judicial economy
and interests of fundamental fairness and finality.

(Pis’ Renewed Mot. at 1-2, MDL ECF No. 5274.)

The Court will address Plaintiffs’ arguments in three groups: (A) contract interpretation
of the Leach Settlement Agreement, which includes causation definitions, prohibition of trying
general causation, and class membership, and the inapplicability of the Ohio Tort Reform Act;
(B) the negligence claims; and (C) a full and fair opportunity to litigate.

A. Contract Interpretation and Tort Reform

There are prior judgments issued in the Bartlett, Freeman, and Vigneron cases, where the
issue of the Leach Settlement Agreement was actually litigated and resolved in a judicial
determination that was essential to the judgment. DuPont moved to reverse this Court’s contract
interpretation, first, in DuPont’s Motion for Clarification of DMO 1, which led to the issuance of
DMO 1-A; second, in its post-trial briefing that resulted in DMO 12, and; third, in its appeal to

the Sixth Circuit in the Bartlett case. DuPont claims that the verdicts stemmed from this Court’s

 

7 The Court notes that of the six cases chosen to be bellwether trials, only two (2) went to trial
with the others resulting in settlements. The third and fourth trials were chosen from a wider
range of cases that had not developed as bellwether cases.

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interpretation of the Leach Settlement Agreement, which—in DuPont’s estimation—“constituted
a threshold error that pervasively impacted the trial and negated fundamental terms that were the
very basis for resolving the Leach class action” (Def’s Mot. for J. and New Trial at 1, Bartlett
ECF No. 15); “A threshold contract interpretation error eliminated the heart of a critical defense
for DuPont in each of the 3,500 cases in this MDL... .” (Barlett v. E. I. du Pont De Nemours
and Company, Sixth Circ. Case No. 16-3310, Appellant Brief at 1, 18) (emphasis added).

This Court agrees with DuPont that the Court’s interpretation of the Leach Settlement
Agreement was essential to the judgments that were entered in the Bartlett, Freeman, and
Vigneron cases, and impacts all of the other cases in this MDL. And, there exists no tangible
argument that the issue was not actually litigated in all the cases. DuPont brought the contract
interpretation issue to this Court on numerous occasions and before the Sixth Circuit as its main
assignment of error. Similarly, DuPont litigated the application of the Ohio Tort Reform Act
before this Court on numerous occasions and also before the Sixth Circuit.

DuPont does not argue that the issue of contract interpretation or application of the Tort
Reform Act was not actually litigated or essential to the judgments entered in each of the three
trials. Instead, DuPont’s main argument is that “offensive issue preclusion does not apply here.”
(Sur-Reply at 11, MDL ECF No. 5281-1.) DuPont simply contends that the Court’s
determination was not a final judgment as to the interpretation of the Leach Settlement
Agreement or the Tort Reform Act, stating “[t]he Bartlett trial verdict did not bind any future
case, and there was likewise no appellate decision that could possibly have bound any future
case.” Id, at 14, n.5. DuPont refers to the withdrawn Bartlett appeal as the “settlement of an
appeal” and the “undecided Bartlett appeal,” suggesting that these phrases somehow reduce the

finality of this Court’s Judgments.

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This position is inconsistent with the law; it is inconsistent with DuPont's previous
conduct in this MDL. That is, this Court has applied the same interpretation of the Leach
Settlement Agreement to the facts of each of the four prior cases that went to trial and, as DuPont
argued to the Sixth Circuit, the interpretation effected “each of the 3,500 cases in this MDL.”
(Barlett v. E. I. du Pont De Nemours and Company, Sixth Cir. Case No. 16-3310, Appellant
Brief at 1,18.) Additionally telling is that after Mrs. Bartlett’s case was decided and appealed,
the parties no longer asked the Court to make any changes to its interpretation of the Leach
Settlement Agreement, recognizing that the Bartlett appeal would once and for all put to rest the
contract interpretation issue. The same is true of the Tort Reform Act.

Even if, however, the parties had not recognized the impact of this Court’s final and
binding decisions, the law is clear. This Court’s decisions interpreting the Leach Settlement
Agreement and application of the Ohio Tort Reform Act (and the juries’ findings ofnegligence)
became final upon entry of final judgment. “[T]he established rule in the federal courts is that a
final judgment retains all of its preclusive effect pending appeal.” Erebia v. Chrysler Plastic
Prods. Corp., 891 F.2d 1212, 1215 n.1 (6th Cir. 1989) (citations omitted). Thus, this Court’s
final judgments in all three of the trials held in this MDL have never been anything other than
final and binding.

As to the appeal, when DuPont withdrew it, those previously appealable issues simply
retained their finality for purposes of collateral estoppel. Moore’s Fed. Practice, 3d Ed. §
132.03(4][k][vii] (“Unappealed but appealable findings are given issue preclusive effect”) (citing
Partmar Corp. v. Paramount Pictures Theatres Corp., 347 U.S. 89, 99 n.6 (1954) (plaintiff did
not but might have appealed)). Under Supreme Court and Sixth Circuit precedent, dismissal of

an appeal means that the trial court’s rulings remain vital and preclusive. When “the losing party

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has voluntarily forfeited” its appellate rights, it remains bound by the trial court’s decision. U.S.
Bancorp Mortg. Co. v. Bonner Mail P’ship, 513 U.S. 18, 25-26 (1994); Coal. for Gov't
Procurement v. Fed. Prison Indus., Inc., 365 F.3d 435, 484 (6th Cir. 2004).

Further, the “settlement” of Mrs. Bartlett’s claim while the case was on appeal simply has
no impact on the finality and preclusive effect of this Court’s Judgment. Indeed, the Sixth
Circuit explains that when a party “voluntarily abandon{s] their request for reversal of the district
court’s decision . . . [the losing party] ha[s] lost their ability to contest the merits of [that]
dispute.” Remus Joint Venture v. McAnally, 116 F.3d 180, 185 (6th Cir. 1997). When a party
decides to settle a case rather than complete an appeal, “[t]he judgment is not unreviewable, but
simply unreviewed by his own choice.” Jd.

Moreover, the Sixth Circuit has recently held that a district court’s judgment can still
have issue-preclusive effect even if the judgment was set aside by the trial court at the request of
the parties as a condition of settlement. Watermark Senior Living Ret. Communities, Inc. v.
Morrison Mgt. Specialists, Inc., 905 F.3d 421, 426-28 (6th Cir. 2018). In Watermark Senior
Living Retirement Communities, the Sixth Circuit observed:

[JJudgments may retain their finality and preclusive effect when they are set

aside or vacated upon settlement... . In such circumstances, the losing party

acquiesces in the court’s decision, even if he disagrees with it. The party has had

his day in court and waived his right to an appeal. That is all that is required. “One

bite at the apple is enough.”

Id. at 427 (citations omitted).
Here, this Court’s judgment was not vacated nor set aside. Undoubtedly then, DuPont

has acquiesced in this Court’s decision, even though DuPont disagrees with it. DuPont has had

its day in court and has waived its right to appeal.

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DuPont’s final argument is that the “PSC is trying to improperly convert the undecided
Bartlett appeal into the law-of-the-case for all subsequent individual cases, despite the fact that
the Sixth Circuit has expressly rejected applying law of the case across different cases,” (Def’s
Sur-Reply at 12, MDL ECF No. 5281-1.) This argument is a red herring. Plaintiffs have not
suggested that this Court’s prior rulings are “law of the case,” nor could they. “The doctrine of
the law of the case is similar [to the doctrine of issue preclusion] in that it limits relitigation of an
issue once it has been decided, but the law of the case doctrine is concerned with the extent to
which the law applied in decisions at various stages of the same litigation becomes the governing
principle in later stages.” 18 Moore’s Federal Practice § 134.04[1], 134-523 (citing Christianson
v. Colt Indus, Operating Corp., 486 U.S. 800, 816 (1988)). The law of the case doctrine is
simply inapplicable here.

B. Negligence

Plaintiffs argue that “[t]he precise/identical issue of negligence in Plaintiffs’ cases was
raised and litigated in the Bartlett, Freeman, and Vigneron cases and this finding of negligence
was necessary to support each verdict.” (Pls’ Renewed Mot. at 7-8, MDL ECF No. 5274.)
DuPont responds that “[i]ssue preclusion does not apply unless—at a minimum—the plaintiff
can show that all of the factual differences ‘are of no legal significance whatever in resolving the
issue presented’ and here, Plaintiffs cannot “meet this high standard.” (Def.’s Memo. in Opp. at
17, MDL ECF No. 5278) (citing United States v. Stauffer Chem. Co., 464 U.S. 165, 172 (1984)).
Specifically, DuPont contends that Plaintiffs’ “relevant water districts and time periods at issue
in prior trials were different. The constantly changing state of the science, the changing
knowledge over time, and the specific risks to any Plaintiff at the specifically relevant time and

in a specific atea are fundamental to the duty issues.” Jd. at 17, DuPont further argues that some

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of the plaintiffs in the Post-Settlement cases have filed loss of consortium claims, which
“distinguishes that case from the first three trials.” Id. Additionally, DuPont contends that
“binding DuPont to the results of two bellwether trials and one non-bellwether trial would be
fundamentally unfair.” (Def?s Mem. in Opp. at 25 .) And finally, DuPont maintains that “a
number of Plaintiffs in the post-global settlement cases have sued an additional defendant,
Chemours—an independent company that never used C-8 at the Washington Works facility or
elsewhere and was not a defendant in the pre-GSA cases.” Id. at 18. DuPont’s arguments are
not well taken.

The Court finds that Plaintiffs have shown that any factual differences between the Pre-
and Post-Settlement cases are of no legal significance in a jury’s consideration of a negligence
claim. That is, the issue of negligence was actually and directly litigated in four prior trials, with
three consistent verdicts. The fourth settled after four weeks of trial. As can be seen in the jury
instructions supra, each jury was consistently instructed and each found that DuPont owed a duty
to a particular Leach Class member, that it breached that duty, and that DuPont should have
foreseen or reasonably anticipated that injury would result from the alleged negli gent act.

Specifically, the “test” for duty “is whether under the circumstances a reasonably prudent
corporation would have anticipated that an act or failure to act would likely cause injuries.”
(Final Jury Instructions at 21, Negligence — Duty, Bartlett ECF No. 139); (Final Jury Instructions
at 20, Negligence — Duty, Freeman ECF No. 102); (Final Jury Instructions at 21, Negligence —
Duty, Vigneron ECF No. 195). And for breach, the jury was required to determine whether
DuPont exercised “ordinary care,” which was defined as “the care that a reasonably careful
corporation would use under the same or similar circumstances.” (Final Jury Instructions at 22,

Negligence — Breach, Bartlett ECF No. 139); (Final Jury Instructions at 21, Negligence — Breach,

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Freeman ECF No. 102); (Final Jury Instructions at 22, Negligence — Breach, Vigneron ECF No.
195).

Finally, the jury had to determine whether Plaintiffs proved foreseeability, that is,
whether they “prove[d] that DuPont should have foreseen or reasonably anticipated that injury
would result from the alleged negligent act.” (Final Jury Instructions at 21, Negligence —
Proximate Cause — Foreseeable Injury, Bartlett ECF No. 139); (Final Jury Instructions at 24,
Negligence — Proximate Cause — Foreseeable Injury, Freeman ECF No. 102); (Final Jury
Instructions at 23, Negligence — Proximate Cause, Foreseeable Injury, Vigneron ECF No. 195).
Again, the instructions made clear that the jury was determining not only whether DuPont’s
conduct caused injury to the individual plaintiff, but also to those who, like the Leach Class
members, were in similar positions to Plaintiffs: “The test for foreseeability is not whether
DuPont should have foreseen the injury exactly as it happened to [the plaintiff]. Instead, the test
is whether under the circumstances a reasonably careful person would have anticipated that an
act or failure to act would likely result in or cause injuries.” (Final Jury Instructions at 21,
Negligence — Proximate Cause, Foreseeable Injury, Bartlett ECF No. 139); (Final Jury
Instructions at 21, Negligence — Proximate Cause — Foreseeable Injury, Freeman ECF No. 23);
(Final Jury Instructions at 23, Negligence — Proximate Cause, Foreseeable Injury, Vigneron ECF
No. 195).

The testimony that was presented at the Bartlett, Freeman and Vigneron trials and the
resulting verdicts made clear that the duty DuPont breached was to the entire communities
surrounding its Washington Works plant and not just to specific customers of individual water
districts. The facts relating to DuPont’s negligence were virtually identical. The experts in each

trial testified about how DuPont’s conduct affected surrounding communities — all six of the

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water districts and private wells subject to the Leach Settlement Agreement — and not just to the
individuals who were in a particular water district. The factual differences highlighted by
DuPont (Z.e., water districts, diseases, and the timing and duration of C-8 exposure) go to specific
causation, which is a live controversy that will be vigorously litigated in the upcoming trials, as
will any loss of consortium claims, and punitive damages claims.

Meanwhile, the conduct supporting DuPont’s negligence in the Bartlett, Freeman, and
Vigneron cases is the same conduct in the Post-Settlement Plaintiffs’ cases. As this Court noted
previously, evidence “related to DuPont’s conduct of releasing the C-8 from the Washington
Works plant” is “the same evidence that will be utilized in every single trial held in this MDL.”
(CMO 20 at 33, ECF No. 4624.) “Not only will this evidence be consistent through each and
every trial, it is also overwhelmingly the majority of all evidence that will be offered at each and
every trial that will be held in this MDL.” Jd. The negligence phase of each prior case has taken
substantial time at trial, and each verdict included a finding of negligence.

The addition of the entity that purchased Washington Works, Chemours, and was spun
off from DuPont itself to, inter alia, take some or all of the C-8 liability from that facility is of no
legal significance whatever in resolving the negligence issues under consideration here.
Chemours’ conduct is not per se at issue in this litigation. Instead, Chemours is, at best, merely
an indemnitor of DuPont.

DuPont’s argument that being bound to the result of three trials, two of which were
bellwethers, misses the mark. While in certain factual situations courts have found it unfair to
bind parties to a bellwether verdict, Auchard v. IVA, No, 3:09-CV-54, 2011 U.S. Dist. LEXIS

14771, at *11 (E.D. Tenn. Feb. 2, 2011), others have focused on whether a party had a full and

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fair opportunity to litigate, Adams v. United States, No. CV 03-49-E-BLW, 2010 U.S. Dist.
LEXIS 116051, 2010 WL 4457452 (D. Idaho Oct. 19, 2010).8

While this Court did hold two bellwether and two non-bellwether trials, every Plaintiff in
this MDL is a member of the Leach Class and are subject to the Leach Settlement Agreement.
Both Plaintiff class and DuPont benefit from the Leach Agreement and this Court’s rulings
related to what the trials under the Agreement will entail. Thus, to the extent that the bellwether
process could impact the application of collateral estoppel, it does not do so here. The important
aspect of the analysis is whether DuPont had a full and fair opportunity to litigate.

In the context of an MDL, the need to try multiple bellwether cases to facilitate
settlement of all cases is an important component of the handling of a large number of related
cases. See The Manual for Complex Litigation, § 22.315 (bellwether trials are meant to “produce
a sufficient number of representative verdicts and settlements to enable the parties and the court
to determine the nature and strength of the claims . . . and what range of values the cases may
have”); Alexandra D, Lahav, Bellwether Trials, at 577-78, The George Washington Law Review
(2008) (“Judges currently use bellwether trials informally in mass tort litigation to assist in
valuing cases and to encourage settlement.”). Applying collateral estoppel in an MDL before
most or all bellwether cases are tried would not promote judicial economy insofar as a global
settlement could be frustrated. But here, DuPont lost the first bellwether trial, filed an appeal,

and asked to stay the remaining cases, which the Court refused, DuPont then simply settled the

 

5 In Adams v. United States, DuPont actually argued that issue preclusion from bellwether trials
was inappropriate, even though the court had previously suggested that some of the issues may
be precluded in future trials. The Adams court found that issue preclusion applies to findings of
bellwether trials where “DuPont had a full and fair opportunity to litigate” the relevant issue.
Adams, 2010 U.S. Dist. LEXIS 116051, at *24,

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only remaining bellwether cases, leaving no such cases outstanding. These facts are further
reasons to apply collateral estoppel, when no bellwether cases remain unresolved.
Cc. Full and Fair Opportunity to Litigate

As does federal law, Ohio law focuses on the “main legal thread which runs throughout
the determination of the applicability of ... collateral estoppel, [which] is the necessity of a fair
opportunity to fully litigate and to be ‘heard’ in the due process sense.” Goodson, 2 Ohio St.3d
at 200-01. The Ohio Supreme Court cautions:

Collaterally estopping a party from relitigating an issue previously decided against

it violates due process where it could not be foreseen that the issue would

subsequently be utilized collaterally, and where the party had little knowledge or

incentive to litigate fully and vigorously in the first action due to the procedural
and/or factual circumstances presented therein,

id. And, non-mutuality of parties is acceptable in Ohio when the party against whom estoppel is
asserted “clearly had his day in court on the specific issue brought into litigation within the later
proceeding” and/or “where justice would reasonably require it.” Goodson, 2 Ohio St. 3d at 200.
The United States Supreme Court similarly cautions:
There are two situations in which it may be unfair to apply offensive issue preclusion:
(1) where the defendant in the first action had little incentive to defend vigorously,
particularly if future suits were not foreseeable; and (2) where the second action
“affords the defendant procedural opportunities unavailable in the first action that
could readily cause a different result.”
Guy, 257 F. App’x. 965 (quoting Parklane Hosiery Co., 439 U.S. at 330-3 1).

None of these situations is even arguably present here — nor does DuPont claim that any
are present. No doubt, DuPont had every incentive to vigorously defend the first three trials in
this MDL, knowing that there were over 3,500 cases that would be impacted by the outcomes of
those cases. And, obviously future suits were foreseeable in that there were over 3,500 cases in

line in this MDL ~ all of which would be tried in this Court or in the Southern District of West

Virginia. This MDL is geographically limited to only two districts because of the Leach Case
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from which this MDL was born and the Settlement Agreement by which these cases are bound.
DuPont has known since it moved the JPML for consolidation that there would never be the
“nuclear option” available such that it may have the opportunity to potentially re-argue pretrial
and trial rulings made by this Court in other trial courts across the country. Indeed, as the JPML
itself has recognized, “the transferee judge has indicated his willingness to seek an inter-circuit
assignment to conduct trials in West Virginia should the need arise.” (Transfer Order at 2, MDL
ECF No. 5130.) Consequently, there is no question that DuPont had strong motivation to defend
vigorously and that it fully understood that future suits were not only foreseeable, but likely.

Further, DuPont made clear in its SEC filing that there was potential liability well into the
future, dividing the responsibility for the potential future liabilities between it and Chemours.
Finally, the Post-Settlement cases do not afford the parties any procedural opportunities that
were unavailable in the Bartlett, Freeman, and/or Vigneron trials that could readily cause a
different result.

Since the inception of this MDL six and one-half years ago, the pretrial motion practice
and the trials were aggressively litigated by competent counsel on both sides. The trials alone
were billed at approximately $6 million per side in attomey fees and over $1 million in costs.
(PI’s Mot.. for Determination of Atty. Fees and Costs, Freeman ECF No. 147.) Given the caliber
and number of counsel, the length of this action, a settlement of over $670 million, nearly $50
million in attorney fees and $4 million in costs for the trials, and a fully briefed and argued
appeal before the Sixth Circuit, the time has come to conserve judicial resources as well as those
of the parties.

The Ohio Supreme Court advises that, when balancing “[t]he benefits garnered from

applying collateral estoppel in any cause . . . against the costs associated with its application[,]”

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“[t}he major risk linked to such an application is that of an erroneous determination in the first
case.” Goodson, 2 Ohio St. 3d at 201-02. In the instant action, there was not only a “first case,”
but a second case and a third case that all resulted in the same verdicts on a Leach Class
members’ negligence claim.

The policy guiding the application of collateral estoppel in any given case is one of
fundamental fairness. As the Supreme Court observed:

But as so often is the case, no one set of facts, no one collection of words or phrases,

will provide an automatic formula for proper rulings on estoppel pleas. In the end,

decision will necessarily rest on the trial courts’ sense of justice and equity.
Blonder-Tongue Laboratories, 402 U.S. at 333-34.

After reviewing the situations in which it may be unfair to apply offensive collateral
estoppel, the Supreme Court stated:

We conclude, therefore, that none of the considerations that would justify a
refusal to allow the use of offensive collateral estoppel is present in this case. Since

the petitioners received a “full and fair” opportunity to litigate their claims in the

SEC action, the contemporary law of collateral estoppel leads inescapably to the

conclusion that the petitioners are collaterally estopped from relitigating the

question of whether the proxy statement was materially false and misleading.
Parklane Hosiery Co., 439 U.S. at 332-33.

Similarly, in the instant action, this Court concludes that none of the considerations Ohio
or federal courts find would justify refusal to allow the use of offensive collateral estoppel are
present. Since DuPont has received a “full and fair” opportunity to litigate the proper
interpretation of the Leach Settlement Agreement, application of the Ohio Tort Reform Act, and
negligence with three separate juries finding DuPont liable for the same conduct that is at issue

in this motion, the contemporary law of collateral estoppel leads inescapably to the conclusion

that DuPont is collaterally estopped from relitigating these issues. DuPont has had its day in

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court on these issues, and in view of the entire record before this Court, justice and equity
demand application of issue preclusion as requested by Plaintiffs in their Renewed Motion.
V.

The Court will next address Defendant’s Motion to File, Instanter, a Sur-Reply (MDL
ECF No. 5281), and Defendant’s arguments that Plaintiffs’ Renewed Motion was untimely.

A. Sur-Reply

DuPont filed a Motion for Leave to File, Jnstanter, a Sur-Reply (MDL ECF No. 5281),
Plaintiffs then filed a Memorandum in Opposition (MDL ECF No. 5282), and DuPont filed its Reply
(MDL ECF No. 5283). Pursuant to S.D. Ohio Local R. 7.2(a)(2), a party may seek leave of the Court
to file a sur-reply in support of its opposition to a motion “for good cause shown.” Good cause exists
for a sur-reply where a party seeks to “respond to an argument raised by [a party] for the first time in
its reply brief.” NetJets Large Aircraft, Inc. v. United States, 2017 U.S. Dist. LEXIS 49232, at *12,
(S.D. Ohio Mar. 21, 2017) (citing Burlington Ins. Co. v. PMI Inc., 862 F. Supp. 2d 719, 726 (S.D.
Ohio 2012)).

DuPont contends that Plaintiffs raised new arguments in their Reply, necessitating the need
for it to file a sur-reply. This Court disagrees; however, the Court will provide to DuPont the
opportunity it requests to address the issues before the Court. Thus, the Court GRANTS DuPont’s
Motion for Leave to File, Instanter, a Sur-Reply. (MDL ECF No. 5281 )

B. Timeliness of Motion

It is not disputed that Plaintiffs filed their Renewed Motion after the deadline set by this

Court, DuPont contends that Plaintiff untimeliness is a “fatal defect” requiring denial of its

request for partial summary judgment. (Def’s Mem. in Opp. at 1, MDL ECF No. 5278.) This

Court, however, disagrees.

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Unlike certain defenses that must be raised by the parties, the doctrine of collateral
estoppel is one in which “the judiciary retains an independent interest” so that it can “prevent[]
the misallocation of judicial resources.” Sioux Nation of Indians, 448 U.S. at 433. The Sixth
Circuit sanctions, indeed encourages, a court to sua sponte raise the doctrine “in the interests of,
inter alia, the promotion of judicial economy.” Holloway Const. Co, v. U.S. Dept. of Lab., 891
F.2d 1211, 1212 (6th Cir. 1989) (citing Sioux Nation of Indians, 448 U.S. at 432; Commissioner
v. Sunnen, 333 U.S. 591, 597 (1948)). As the Supreme Court explained in its assessment of a
sua sponte dismissal based on res judicata:

The Court of Claims itself has indicated that it would not engage in reconsideration
of an issue previously decided by the Court of Claims without substantial
justification:

“It is well to remember that res judicata and its offspring, collateral
estoppel, are not statutory defenses; they are defenses adopted by
the courts in furtherance of prompt and efficient administration of
the business that comes before them. They are grounded on the
theory that one litigant cannot unduly consume the time of the court
at the expense of other litigants, and that, once the court has finally
decided an issue, a litigant cannot demand that it be decided again.”
Warthen v. United States, 157 Ct. Cl. 798, 800 (1 962).

It matters not that the defendant has consented to the relitigation of the claim since

the judiciary retains an independent interest in preventing the misallocation of

judicial resources and second-guessing prior panels of Art. III judges when the issue

has been fully and fairly litigated in a prior proceeding.
Sioux Nation of Indians, 448 U.S. at 432-33 (“This result is fully consistent with the policies
underlying res judicata: it is not based solely on the defendant’s interest in avoiding the burdens
of twice defending a suit, but is also based on the avoidance of unnecessary judicial waste.”)
(citing Sunnen, 333 U.S. at 597; Blonder-Tongue Laboratories, Inc., 402 U.S. at 328; Parklane
Hosiery, 439 U.S. at 322).

As can be seen from the Court’s analysis above, it is clear that DuPont is asking to

“unduly consume the time of the Court at the expense of other litigants,” because this Court and

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three juries have “finally decided” the issues of interpretation of the Leach Settlement
Agreement, including the definitions and evidentiary applications of general and specific
causation, class membership, application of the Ohio Tort Reform Act, and DuPont’s negligence.
DuPont, however, continues to “demand that [these issues] be decided again.” See id. This
DuPont cannot do,

The Court gave its attention fully to this MDL and has done what the JPML asked of it:
to conduct the cases in a “just and efficient” manner. (Transfer Order at 1, MDL ECF No. i;
Transfer Order at 2, MDL ECF No. 5130.) The Court owes the same to the other cases before it,
including a major MS-13 gang case involving five murder charges with 26 defendants, 16 of
whom allegedly committed death-penalty-eligible crimes, the In re: Davol, Ine/C.R. Bard, Inc.
Polypropylene Hernia Mesh Products Liability Litigation Hernia that currently consists of over
4,500 cases, and over 200 other civil cases, as well as over 100 criminal matters. It is incumbent
upon this Court to protect its ability to give the same prompt and efficient administration of the
cases before it that it has provided to DuPont.

VL

For the reasons set forth above, the Court GRANTS Plaintiffs’ Renewed Motion for
Summary Judgment on the Application of the Doctrine of Issue Preclusion/Collateral Estoppel
(MDL ECF No. 5274), and GRANTS Defendant’s Motion to File, Instanter, a Sur-Reply (MDL
ECF No. 5281). The issues that remain for trial are: specific causation, damages, and, if malice
is found by the jury, punitive damages, and in some cases loss of consortium.

IT IS SO ORDERED.

He xs -20/9 LV

DATE ED SARGUS, JR.
UNITED STATES DISTRICT JUDGE

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